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                     EXHIBIT 24
To:        Richard Wheelahan[rwheelahan@capitalsouthpartners.com]
From:                  Case 3:18-cv-01023-MPS Document 352-16 Filed 09/30/21 Page 2 of 4
           Casey Swercheck[Casey@capitalagroup.com]
Sent:      Tue 5/17/2016 11:13:44 AM (UTC-04:00)
Subject:   RE: Sullivan

 OK thanks

 Casey Swercheck | Vice President
 Capitala Group
 500 E Broward Blvd | Ste 1710 | Fort Lauderdale, FL 33301
 p 954 848 2860 | m 215 796 8410




 From: Richard Wheelahan
 Sent: Tuesday, May 17, 2016 11:13 AM
 To: Casey Swercheck <Casey@capitalagroup.com>
 Subject: RE: Sullivan

 I asked – will let you know what we can compromise on.

 Richard G. Wheelahan III | CCO · General Counsel
 p 704 936 4928 | m 205 960 5144 | CapitalaGroup.com



 From: Casey Swercheck
 Sent: Tuesday, May 17, 2016 11:10 AM
 To: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>
 Subject: RE: Sullivan

 I think we just ask Tom what he wants to see and we just copy & paste in emaiil

 Casey Swercheck | Vice President
 Capitala Group
 500 E Broward Blvd | Ste 1710 | Fort Lauderdale, FL 33301
 p 954 848 2860 | m 215 796 8410




 From: Richard Wheelahan
 Sent: Tuesday, May 17, 2016 11:10 AM
 To: Casey Swercheck <Casey@capitalagroup.com>
 Subject: RE: Sullivan

 No, but Joe’s going to share the terms, anyway. What format do you suggest?

 Richard G. Wheelahan III | CCO · General Counsel
 p 704 936 4928 | m 205 960 5144 | CapitalaGroup.com



 From: Casey Swercheck
 Sent: Tuesday, May 17, 2016 10:59 AM
 To: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>
 Subject: Re: Sullivan
                                                                                                       CG00027123
 If you're nova, would you want your term sheet sent to a third party who is trying to act in a similar capacity?
Casey Swercheck Case 3:18-cv-01023-MPS Document 352-16 Filed 09/30/21 Page 3 of 4
Vice President - Fort Lauderdale Office
CapitalSouth Partners & Capitala Finance Group
Casey@capitalagroup.com
(O) 954.848.2860
(M) 215.796.8410
On May 17, 2016, at 10:32 AM, Richard Wheelahan <rwheelahan@capitalsouthpartners.com> wrote:

     Go ahead and send.

     Richard G. Wheelahan III | CCO · General Counsel

     p 704 936 4928 | m 205 960 5144 |CapitalaGroup.com

     Sent from my BlackBerry Smartphone on the Verizon 4G LTE Network
     From:JAlala@capitalagroup.com
     Sent:May 17, 2016 10:30 AM
     To:rwheelahan@capitalsouthpartners.com
     Subject:Re: Sullivan



     I think the entire thing so they see the fees and how it is paid over time.

     Joe Alala, III
     Chairman and CEO
     Chief Investment Officer
     Capitala Group
     Capitala Finance Corp (NASDAQ-CPTA)
     CapitalSouth Growth Fund
     Phone - 704-376-5502 ext. 24
     www.capitalagroup.com
     Please forgive any typing or grammatical errors. It is I the operator who is challenged by emails
     while constantly traveling.
     Sent from my iPhone
     On May 17, 2016, at 10:28 AM, Richard Wheelahan <rwheelahan@capitalsouthpartners.com> wrote:

           Joe, should we just send the carveout list or do you want the whole thing?

           Richard G. Wheelahan III | CCO · General Counsel

           p 704 936 4928 | m 205 960 5144 |CapitalaGroup.com

           Sent from my BlackBerry Smartphone on the Verizon 4G LTE Network
           From:JAlala@capitalagroup.com
           Sent:May 17, 2016 9:37 AM
           To:TSullivan@sandleroneill.com; rwheelahan@capitalsouthpartners.com; Casey@capitalagroup.com
           Cc:sarnall@capitalagroup.com
           Subject:Sullivan



           Casey. Can you send our placement agent contract to Tom?

           We need to finalize the outreach efforts with his list
                                                                                                  CG00027124
           Joe Alala, III
           Chairman and CEO
Chief Investment Officer
       Case 3:18-cv-01023-MPS   Document 352-16 Filed 09/30/21 Page 4 of 4
Capitala Group
Capitala Finance Corp (NASDAQ-CPTA)
CapitalSouth Growth Fund
Phone - 704-376-5502 ext. 24
www.capitalagroup.com
Please forgive any typing or grammatical errors. It is I the operator who is challenged by
emails while constantly traveling.
Sent from my iPhone




                                                                                 CG00027125
